Case 3:23-cv-00046-RSB-JCH Document 30 Filed 11/13/23 Page 1 of 1 Pageid#: 323



                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                            ROANOKE DIVISION


                                                           Action No: 3:23cv46
 Houweling Intellectual Properties, Inc.                   Date: 11/13/2023
 vs.                                                       Judge: Robert S. Ballou
 BFF Louisa 1 LLC                                          Court Reporter: J. Webb
                                                           Deputy Clerk: K. Brown



 Plaintiff Attorney(s)                             Defendant Attorney(s)
 Jaye Heybl*                                       Devon Beane*
 Stephen Noona                                     Rebekah Hill
 Douglas Hahn                                      McNair Nichols, Jr.
                                                   Andrew Liao
                                                   Jason Engel
                                                   Laxman Ramu



 PROCEEDINGS:
 10:00
 Parties present and represented by counsel. All parties present on screen.
 Oral argument in re: [7] and [22] Motions Dismiss or, in the Alternative, Stay
 Order forthcoming.
 Adjourned.
 10:25


 Time in Court: 25 min
